






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00637-CR






Amber Rose Edmonds, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT

NO. 66725, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		Appellant Amber Rose Edmonds has filed a pro se notice of appeal from the
district&nbsp;court's judgment revoking her community supervision for the offense of possession
of&nbsp;marihuana in an amount four ounces or more but less than five pounds.  See Tex. Health &amp; Safety
Code Ann. § 481.121 (West 2010).  The district court has certified that Edmonds has waived her
right of appeal.  See Tex. R. App. P. 25.2(a)(2); Monreal v. State, 99 S.W.2d 615, 622 (Tex. Crim.
App. 2003).  Accordingly, we dismiss the appeal on that ground.  See Tex. R. App. P. 25.2(a)(2),&nbsp;(d). 


						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Dismissed

Filed:   December 7, 2011

Do Not Publish


